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                IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT BLUEFIELD
UNITED STATES OF AMERICA


v.                                        Criminal No. 2:06-cr-00145


MELVIN DANIELS

                      MEMORANDUM OPINION AND ORDER

     In Bluefield, on September 26, 2011, came the defendant,

Melvin Daniels, in person and by counsel, David Bungard; came

the United States by Miller Bushong, III, Assistant United

States Attorney; and came the Probation Officer Patrick Fidler,

for a hearing on the petition to revoke the defendant’s term of

supervised release.

     The court informed the defendant of the alleged violations

contained in the petition to revoke the term of supervised

release, filed on January 24, 2011.         The court found that the

defendant had received written notice of the alleged violations

as contained in the petition and that the evidence against the

defendant had been disclosed.        The court advised the defendant

that, pursuant to Rule 32.1(b) of the Federal Rules of Criminal

Procedure, he has the right to a hearing and assistance of

counsel before his term of supervised release could be revoked.

Whereupon defendant did not challenge at the hearing the

violations alleged in the January 24, 2011 petition.              The court

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found that the charges were established by a preponderance of

the evidence.

     The court found that the Guideline imprisonment range for

the revocation of supervised release upon such grounds was

thirty to thirty-seven months.       The court further found that the

Guideline ranges issued by the Sentencing Commission with

respect to revocation of supervised release are policy

statements only and are not binding on the court.             The

defendant’s violation was a grade A, the criminal history is a

V, making the guideline range from thirty to thirty-seven

months.   Thus, the court stated that the relevant statutory

provision is 18 U.S.C. § 3583(e)(3), which provides a maximum

term of imprisonment of thirty-seven months for a violation of a

term of supervised release if the offense that resulted in the

term of supervised release was a Class A felony.             Neither party

objected to the Guideline range and statutory penalty as

determined by the court.

     The court found that there was sufficient information

before it on which to sentence defendant without updating the

presentence investigation report.

     After giving counsel for both parties and defendant an

opportunity to speak regarding the matter of disposition, the

court ORDERED, pursuant to the Sentencing Reform Act of 1984,

that the defendant’s term of supervised release be revoked, and

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that he be incarcerated for six (6) months. The court imposed a

fifty-four (54) month term of supervised release following the

defendant’s period of incarceration.

     The court considered all of the factors in the case, and

concluded that the sentence satisfied the statutory objectives

of 18 U.S.C. § 3553, and was sufficient, but not greater than

necessary, to protect the public, provide an adequate deterrent

and reflect the seriousness of defendant's violations.

     The defendant is informed of his right to appeal the

court's revocation of his supervised release.            The defendant is

further informed that in order to initiate such an appeal, a

Notice of Appeal must be filed in this court within fourteen

(14) days.    The defendant is advised that if he wishes to appeal

and cannot afford to hire counsel to represent him on appeal,

the court will appoint counsel for him.          The defendant is

further advised that if he so requests, the Clerk of Court will

prepare and file a Notice of Appeal on his behalf.

     The defendant was remanded to the custody of the United

States Marshals Service.

     The Clerk is directed to forward a copy of this Memorandum

Opinion and Order to counsel of record, the United States

Marshal for the Southern District of West Virginia, and the

Probation Department of this court.

     It is SO ORDERED on this 3rd day of October, 2011.

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                                         ENTER:


                                         David A. Faber
                                         Senior United States District Judge




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